
Parker C. J.
delivered the opinion of the Court, to the following effect. The question is, whether the pauper, by virtue.of her father’s removal, gained a settlement in Buckland. This depends' upon the question, whether she was of sound mind when she became of age. If she was, her settlement did not follow that of her father.1
*176It was contended, that if the singularities of conduct in the pauper were incipient madness, they were complete madness, which incapacitated her from making a contract; and her case has been likened to the smallpox, where the subsequent breaking out proves the symptoms to have been that disease. Perhaps this is not illogical; but the question seems rather to be, whether different degrees of the same disease are attended with the same consequences. Thus suppose it were made a question, whether a disease of which a person had symptoms, were contagious, and the person in a fortnight should break out; it might be clear that the symptoms were the smallpox, but not that the disease was at that time contagious. So here, incipient madness could not incapacitate the pauper from transacting business, and we think the reasoning of the judge very fair; otherwise it should seem to follow, that all the acts of a person who has symptoms of alienation of mind, and after a course of years becomes insane, may be avoided. The fact to be ascertained was, not whether there was absolute madness, but whether there was such a degree of mental derangement as to incapacitate the pauper for gaining a settlement for herself. It is true we cannot measure the degree exactly, but we can come near enough for practical purposes ; as in cases of insanity of testators. We do not think the allusion to a commission of lunacy material; it was used as an illustration merely, and was so understood by the jury.1

Judgment affirmed.


 But an idiot or person non compos, is capable of gaining a settlement by any one of the modes pointed out not requiring any act of volition of his own. *176Lubec v. Eastport, 3 Greenl. 220. See also Wiscassett v. Waldoborough, 3 Greenl. 388; Upton v. Northbridge, 15 Mass. R. 239; Watson v. Cambridge, 15 Mass. R. 286; Holyoke v. Haskins, 5 Pick. 20; Cutts v. Haskins, 9 Mass. R. 543.


 See 14 Amer. Jurist, 253 et seq.

